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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF INDIANA

HAMMOND DIVISION
IN RE: )
, )
MARTIN GABRIEL SENDEJAS AND ) CASE NO.: 18-21134
BRENDA VERONYKA SENDEJAS, )
) Chapter 7
Debtors. )

_ORDER AUTHORIZING TRUSTEE TO ACT AS HIS OWN ATTORNEY

This cause came to be heard on the Appiication of the Trustee, pursuant to
Banl<ruptcy Rule 2014 and l l U.S.C. Sectioii 327(d), for authority to appoint Kimberly
A. Mouratides and Kenneth A. Manning of the law firm and members of Manning &
Mouratides, P.C. to act as his attorney.

The Court having reviewed said Application, being fully advised in the premises
and finding no notice whereof to creditors is required, and it being in the best interests of
the estate that said Appiication be granted;

IT IS THEREFORE ORDERED that Kenneth A. Manning and Kimberly A.
Mouratides of Manning & Mouratides, P.C. are authorized to act as attorney for the
Trustee, and to carry out all duties as necessary and required to represent and assist the
Trustee 1n carrying out the duties of the Trustee 1n administlation of this estate and case.

Dat@d; November 7, 2018 AH/”M/ ?MY/
_ 00106

SR. AHLER, JUDGE, U S.
BA KRUPTCY COURT

DISTRIBUTION: v
US. Trustee - ustregionl0.soecf@usdoi.gov
Kenneth A. Manning, Chapter 7 Trustee - ken@kmmglawflrm.com

Jonathan Kuit Clasing ~ mer@geracilaw.com
Brenda Sendejas and Martin Sendejas, 4326 Baltimore Ave., Hammond, IN 46327

 

